Case 1:02-Cv-01111-.]P|\/|-egb Document 368 Filed 08/03/05 Page 1 of 4 Page|D 2645

IN THE UNITED STATES DISTRICT COURT F"‘ED B"’ L£€<_. D.C.
FOR THE WESTERN olsTRICT oF TENNESSEE
EASTERN DIVISION 05 AUG ~3 PH 5= |9
PHILLIP E. BOYNTON, CLARENCE W. THOM»‘£ M C~OULD
BOYNTON, NORMA ANN LOGAN, CLERK U¢S, DE‘ESH“:SET COURT
RENELDA J. WESTFALL, SHANNON W/W 55 »‘i%i:;.-»>Hi$

NONN, AARON SCOTT BERNARD,
ALAN F. BERNARD, LINDA R.
BERNARD, and DAVID ALLEN
BERNARD,

Pla‘“tlffs’ Civil Action No. 1-02-1 1 1 1 -M\

VS_

HEADWATERS, INC., f/k/a/ Covol
Technologies, Inc. and JAMES G.
DAVIDSON,

Defendants

 

 

()RDER GB_ANTING DEFENDANT HEAI)WATER_S’ UNOPPOSED
MOTION FOR LEAVE TO FILE A REPLY MEMORANDUM

This document entered on the docket she tin comp?iance
warn eul¢ 58 and/or re(a) FecP on K'¢_/ ‘C_S

 

Case 1:02-cv-Ollll-.]P|\/|-egb Document 368 Filed 08/03/05 Page 2 of 4 Page|D 2646

The Court has considered defendant Headwaters’ unopposed motion for leave to tile a
reply memorandum in further support of its motion to dismiss for lack of subject matter
jurisdiction Good cause appearing, IT IS THUS ORDERED THAT Headwaters’ motion for
leave to tile a reply is hereby GRANTED. IT lS FURTHER ORDERED THAT the Clerk of
Court shall immediately tile “Defendant Headwaters’ Reply Memorandum in Further Support of
Its Motion for Summary Judgment,” attached as Exhibit “A” to Headwaters’ motion for leave to

file a reply. This document will be treated as though filed on the date of entry of this Order.

SO ORDERED this\_§ day of August, 2005.

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H ORABLE JON P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 368 in
case l:02-CV-01lll Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

Filed 08/03/05 Page 4 of 4 Page|D 2648

